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EXHIBIT “Q”
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
Elton Johnson §
§ CASE NO. 4:12-cv-989
Plaintiff, §
§
Vv. § JURY DEMANDED
§
BP Exploration and Production Inc; BP, §
p.Le.; BP Products North Americalnc., §
and BP Corporation North America, Inc,; §
§
Defendants. §

AFFIDAVIT OF ELTON JOHNSON

Elton Johnson, after first being duly sworn upon his oath, makes this affidavit and
states the following;

1. My name is Elton Johnson. I am over the age of twenty-one (21) years,
am competent to testify to the matters stated herein, have personal knowledge of the facts
and statements in this affidavit, and each of the facts and statements is true and correct.

2, I was injured as a result of the Deepwater Horizon explosion and sued BP
and Tidewater, I agreed to settle my case for $2,698,095. When I agreed to this, I
understood that I was completely giving up any right I had to receive any more

money from anyone as a result of my injuries, the explosion, or the events that

followed, I understood that I was giving up my right to sue anyone else as well.

1,
4

FURTHER, AFFIANT SAITH NOT.

El afi

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SUBSCRIBED. AND SWORN TO BEFORE ME, a Notary Public, by Elton
Johnson, on this _/ day of June 2012, to certify which witness my official hand and

seal of office.
GZ Viaob as Pf ki PLVIZD

Notary Public in and for the State of Louisiana

oy Chivtana Lyles
“ Mobary Publie
aunldies Parish State A

Exp. Dee jp 19729
My Commission Expires;

